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JTW/USAO#ZO] 8R007'74

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

 

UNITED STATES OF AMERICA *

v. * Criminal no. c (,£“/ g_O 553~
GEORGE TOMASACK, * 7 (Interstate Transmission of Threats to

Injure, 18 U.S.C. § 875(c))
Defendant. *
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CRIMINAL INFORMATION
COUNT ONE

(Interstate Transmission of Threats to Injure)

The United States Attorney charges that:
On or about October 25, 2016, in the District of Maryland, the defendant,
GEORGE TOMASACK,
knowingly and Willf"ully did transmit in interstate commerce from Maryland to Virginia telephone
communications to employees of the Pentagon Tours Oflice located at the United States Pentagon,
a United States Military Installation, threats to injure the person of another, that is that the

defendant threatened to injure and kill employees of United States Pentagon through the use of a

bomb.

13 U.s.C. § s?§(c)

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ROBERT K HUR
UNITED STATES ATTORNEY

 

